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17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              PROFFER OF EVIDENCE RELATING TO
22    v.                                             CERTAIN ATTORNEY-CLIENT
                                                     PRIVILEGE DESIGNATIONS
23    APPLE INC.,
                                                     Courtroom: 1, 4th Floor
24         Defendant, Counterclaimant
                                                     Judge: Hon. Yvonne Gonzalez Rogers
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1           Apple Inc. (“Apple”) respectfully submits this proffer to address questions raised during the

2    evidentiary hearing regarding whether certain communications were properly designated as privileged

3    and confidential by two Apple employees, Jennifer Brown and Marni Goldberg. Although Epic Games,

4    Inc. (“Epic”) suggested through questioning that these designations were improper, there is no

5    evidentiary basis for that suggestion. Apple respectfully submits this evidentiary proffer to substantiate

6    Apple’s good-faith approach to these particular privilege designations. *

7           1. Jennifer Brown. Ms. Brown, Director of Commercial Litigation, sent two emails, one dated
8    August 15, 2023 in which she instructed Phil Schiller that certain presentations should be designated as

9    privileged and confidential, and the other dated June 14, 2023, in which she instructed Carson Oliver

10   that a communication should be designated as prepared at the direction of external counsel.

11          a. EXHIBIT CX-0229. Epic introduced and questioned Mr. Schiller about Exhibit CX-0229, an
12   email exchange between Mr. Schiller and Ms. Brown (and others), in which Mr. Schiller commented on

13   Apple’s injunction compliance plan and a related presentation. In the email correspondence, Ms. Brown

14   advised Mr. Schiller that the presentations setting out Apple’s injunction compliance plan should be

15   designated as privileged and confidential because they reflect Apple’s litigation strategy and legal risk

16   analysis. See H’rg Tr. 1252:14–25 (Feb. 24, 2025). While Ms. Brown’s instruction to Mr. Schiller was

17   not redacted, the presentations to which she was referring have been redacted as privileged. Those

18   privilege designations were sustained by the Special Masters. Walsh Rulings (Jan. 21, 2025); Gutierrez

19   Rulings (Feb. 10, 2025). Indeed, the Court itself sustained Apple’s privilege designations in a different

20   version of the presentation, which was admitted in redacted form as Exhibit CX-0859 because it reflected

21   legal analysis and advice. See H’rg Tr. 1491:17–19; 1640:20 (Feb. 25, 2025). Ms. Brown’s instruction

22   to designate the presentations as privileged and confidential was proper and is consistent with Apple’s

23   privilege policies and training. See Dkt. 1198-1 n.2.

24

25   *
       Apple will separately respond to Epic’s broader challenge to the privilege designations in this case, as
     well as the Court’s suggestion that Apple’s conduct warrants sanctions. See Dkt. 1171. Epic has pointed
26   out that many documents in this case are marked privileged and confidential—which is hardly surprising,
     given that the entire exercise was conducted with the assistance of litigation counsel to comply with this
27   Court’s injunction. Dkt. 1198-1 at 10–11. Apple submits this limited proffer because Epic chose to
     attack two individuals without any evidentiary basis; Apple’s assertions of privilege were appropriate
28   and made in good faith, and its employees’ reputations should not be impugned.
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1           b. EXHIBIT CX-0538. On February 25, 2025, this Court questioned Ms. Brown about an email,
2    dated June 14, 2023, in which she instructed an Apple employee to designate materials as “prepared at

3    the request of external counsel.” See H’rg Tr. 1614:14–19 (Feb. 25, 2025). As Ms. Brown explained to

4    the Court, the instruction was proper because, at the time, external counsel to Apple (including Mark A.

5    Perry of Weil and Cynthia Richman of Gibson Dunn) were advising Apple on compliance with the

6    Court’s injunction. Privileged communications between Ms. Brown and outside counsel confirm that

7    this deck was the subject of discussion with outside counsel and that outside counsel asked on June 15

8    to get a copy of the deck in order to aid counsel in drafting court papers. Two days after Ms. Brown

9    provided her instruction, Sean Cameron, another member of Apple’s legal team, sent an email to a group

10   of Apple executives, employees, in-house counsel, and external counsel, including Mr. Perry and Ms.

11   Richman, attaching the presentation discussed in Ms. Brown’s prior email. See CX-0223.

12          Further, the June 14, 2023 email concerned (among other subjects) Apple’s compliance with the

13   Digital Market Act (“DMA”). The involvement of external counsel has particular significance in Europe

14   because, under the laws of the European Union, legal professional privilege—the equivalent to attorney-

15   client privilege—is a communication between a company and an independent lawyer. An independent

16   lawyer, in turn, has been defined by the European courts as an attorney who is not bound to the client by

17   a relationship of employment. Case C‑550/07 P, Akzo Nobel Chemicals and Akcros Chemicals v.

18   Commission, 2010 E.C.R. I-8301 (confirming that in-house counsel employed by a company are in a
19   fundamentally different position from “external lawyers” and are not sufficiently independent for their

20   communications to benefit from legal professional privilege). In the redacted paragraph above Ms.

21   Brown’s instruction, she specifically notes the overlap between compliance with the injunction and

22   compliance with the DMA. Because Ms. Brown was discussing, in part, compliance with the DMA,

23   Ms. Brown instructed the employee to record the involvement of external counsel—involvement that is

24   confirmed by CX-0223—in order to protect the valid claim of privilege over the materials. See H’rg Tr.

25   1616:24–1617:12 (Feb. 25, 2025). This designation is valuable for potential future foreign investigations

26   as it helps flag potentially privileged materials in large scale document reviews, which are often

27   expedited.

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     APPLE INC.’S PROFFER OF EVIDENCE RELATING          2               CASE NO. 4:20-CV-05640-YGR-TSH
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1           After questioning Ms. Brown about this document, the Court observed, “You all have ethical

2    obligations . . . . Your client is not entitled to have you engage in unethical conduct.” H’rg Tr. 1617:18–

3    24. When considered in full context, however, Ms. Brown provided proper instruction and fulfilled her

4    ethical obligations to her client to protect the attorney-client privilege. Any inference or argument to the

5    contrary has no basis in fact or law.

6           2.    Marni Goldberg.       Ms. Goldberg, Director of Corporate Communications, sent two
7    iMessages, one dated May 8, 2024, in which she requested that a statement be noted as prepared by

8    outside counsel, and the other dated July 2, 2023, in which she is instructed by her superior to designate

9    a forthcoming email as privileged and confidential. Ms. Goldberg is not a lawyer and is not responsible

10   for making privilege determinations.

11          a. EXHIBIT CX-0244. On February 26, 2025, Epic questioned Ms. Goldberg about a text
12   exchange between herself and Hannah Smith, where Ms. Smith asked Ms. Goldberg about the following

13   statement:

14          Apple has consistently selected Google as the pre-set default search engine in Safari
            because Google offers the highest-quality results, but Apple makes it very easy for users
15          to switch their default search engine to a preferred alternative search provider with four
            simple taps on their iOS devices.
16

17   See H’rg Tr. 1826:14–1828:12.

18          Epic questioned the propriety of Ms. Goldberg’s instruction to make clear that the statement was

19   “prepared by outside counsel” and questioned Ms. Goldberg’s credibility by asking whether Ms.

20   Goldberg drafted the statement herself, as opposed to outside counsel. See H’rg Tr. 1829:21-25 (Feb.

21   26, 2025) (“Q. It wasn’t prepared by outside counsel, correct?”). When Ms. Goldberg was attempting

22   to add context and explain, Epic did not provide her the opportunity to fully answer, continuing to

23   insinuate Ms. Goldberg was being untruthful.             Id. at 1830:4-13 (“Q. Do you think that that

24   communication statement and the broader Q and A that was being drafted that you just said was a

25   communications-driven document was prepared by outside counsel? A. Well, now that I’ve read this

26   exchange, what I believe that I was saying was -- Q. So the answer is yes, you think it was prepared by

27   outside counsel, the whole Q and [A]? A. No, not the whole Q and A. Just the part that we looked at in

28   Hannah’s text was prepared by outside counsel.”).

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1           In fact, the statement at issue was drafted—word for word—by outside counsel, as demonstrated

2    in the attached communication between Ms. Goldberg and outside counsel. See Exhibit A. 1 While this

3    document was not produced in this litigation because it was not responsive, Epic had no basis to question

4    Ms. Goldberg’s credibility or imply that she was being untruthful. Rather, it is clear from the record that

5    Ms. Goldberg answered the question honestly and truthfully because the statement was, in fact, prepared

6    by outside counsel.

7           b. EXHIBIT CX-0464. Epic further questioned Ms. Goldberg about an instruction from her
8    superior, Fred Sainz, to designate a draft email and attached Q&A as privileged and confidential. In

9    CX-0464, Mr. Sainz instructed Ms. Goldberg to label an email and draft Q&A attachment as privileged

10   and confidential before sending the email for review. When questioned about this designation, Ms.

11   Goldberg testified that the email and attached Q&A were going to be sent to legal for review and

12   feedback. See H’rg Tr. 1837:16-21 (“Q. You -- your position is that you were asking for legal advice?

13   Yes or no? A. No. Sorry. Yes. We were going to ask for legal input and advice in the email that would

14   then be reviewed and sent to Mr. Schiller.”). Notwithstanding Ms. Goldberg’s testimony, Epic suggested

15   that Ms. Goldberg was misapplying the attorney-client privilege designation.

16          Epic’s attempt to question the veracity of Ms. Goldberg’s testimony was unfounded. On the

17   same date that Ms. Goldberg received the text message instructing that the cover email and Q&A be

18   designated as privileged and confidential, Ms. Goldberg sent a draft email to the communications team

19   with the Q&A attached. The Q&A contained sections where legal advice and input were specifically

20   requested by Ms. Goldberg from Apple’s legal team. See Exhibit B. The very next day, on July 3, 2023,

21   Ms. Goldberg sent an edited version of the same email and Q&A for review to the legal team, including

22   Jennifer Brown, Ling Lew, and Sean Cameron, all in-house counsel at Apple. The email included the

23   same explicit requests for legal advice. See Exhibit C. Because the cover email and draft Q&A

24   specifically requested legal review and feedback, the draft cover email was provided to Epic in redacted

25   form, while the draft Q&A was withheld on privilege grounds. Both of those privilege designations

26   were sustained by the Special Masters. Gutierrez Rulings (Feb. 4, 2025); Gutierrez Rulings (Feb. 18,

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     1
      Apple is concurrently filing a Notice of Lodging to lodge Exhibits A, B, and C with the Court for in
28   camera review in order to protect against any waiver of attorney-client privilege.
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1    2025). Epic challenged Special Master Gutierrez’s ruling regarding the draft Q&A, but Judge Hixson

2    overruled the objection and upheld the document as privileged. Dkt. 1242. Epic had no basis to call

3    into question Ms. Goldberg’s testimony regarding the instruction to label the Q&A as privileged and

4    confidential because it was being sent to legal for review.

5                                                 CONCLUSION
6           Any suggestion by Epic that Ms. Brown or Ms. Goldberg abused or misapplied the attorney-

7    client privilege has no evidentiary basis.

8

9    Dated: March 6, 2025                                    Respectfully submitted,

10                                                           By: /s/ Mark A. Perry
                                                             Mark A. Perry
11
                                                             WEIL, GOTSHAL & MANGES LLP
12
                                                             Attorney for Apple Inc.
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     APPLE INC.’S PROFFER OF EVIDENCE RELATING           5                 CASE NO. 4:20-CV-05640-YGR-TSH
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